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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  CBV, INC.,                                      )
                                                  )
                  Plaintiff,                      )
        v.                                        )    C.A. No. 1:21-cv-01456-MN
                                                  )
  CHANBOND, LLC, DEIRDRE LEANE,                   )
  and IPNAV, LLC,                                 )
                                                  )
                  Defendants.                     )

                                    [PROPOSED] ORDER

               The Court having considered Defendants Deirdre Leane and IPNAV, LLC’s

Motion to File Under Seal, , and having determined good cause has been shown;

               IT IS HEREBY ORDERED this ____ day of March, 2022 that Deirdre Leane and

IPNAV, LLC (collectively, the “Leane Defendants”) may file their Answer to Plaintiff CBV,

Inc.’s First Amended Complaint in the above-captioned action, and any counterclaims or

crossclaims filed therewith pursuant to Federal Rule of Civil Procedure 13, under seal. The

Leane Defendants shall file a public version of their Answer and any counterclaims or

crossclaims with confidential information redacted, within seven (7) days of the date the Leane

Defendants’ file their Answer, counterclaims, and crossclaims.




                                            Maryellen Noreika, U.S.D.J.
